Case 3:25-cv-00288   Document 78   Filed 06/15/25   Page 1 of 7 PageID #: 709
Case 3:25-cv-00288   Document 78   Filed 06/15/25   Page 2 of 7 PageID #: 710
Case 3:25-cv-00288   Document 78   Filed 06/15/25   Page 3 of 7 PageID #: 711
Case 3:25-cv-00288   Document 78   Filed 06/15/25   Page 4 of 7 PageID #: 712
Case 3:25-cv-00288   Document 78   Filed 06/15/25   Page 5 of 7 PageID #: 713
Case 3:25-cv-00288   Document 78   Filed 06/15/25   Page 6 of 7 PageID #: 714
Case 3:25-cv-00288   Document 78   Filed 06/15/25   Page 7 of 7 PageID #: 715
